   Rev. 11/15/13                                  UNITED STATES BANKRUPTCY COURT
                                                     WESTERN DISTRICT OF TEXAS
                                                           AUSTIN DIVISION
         IN RE: Michael Anthony Guzik                                                          Case No.    17-10677

                               Debtor(s)                                                       Chapter 13 Proceeding

                           DEBTOR(S)' CHAPTER 13 PLAN         AMENDED
                             AND MOTIONS FOR VALUATION AND LIEN AVOIDANCE


                                                                    Plan Summary
A. The Debtor's Plan Payment is scheduled at__________________________________
                                                         Variable Payments               [ Pay Order,               Direct Pay ]
   for ____________________.
             59 months           The gross amount to be paid into the plan is ____________________.
                                                                                    $284,150.00
B. The Plan proposes to pay all allowed priority, special class and secured claims and approximately __________
                                                                                                       100%       of the unsecured
   allowed claims. THIS PLAN DOES NOT ALLOW CLAIMS. You must file a proof of claim to receive distributions under any plan.
   Other than adequate protection payments, disbursements will begin after entry of an order of confirmation of the plan.
C. Value of non-exempt assets ___________________________.
                                       $387,428.39
D. Current monthly income ________________,
                             $7,301.53      - expenses ________________
                                                            $2,449.00   = available for plan ________________.
                                                                                                  $4,852.53

E. The total amount to be paid into the Plan shall be increased for tax refunds as set forth in the Standing Order for Chapter 13 Case
   Administration in this Division. These additional receipts shall be disbursed according to the provisions of the Plan. The IRS
   or the Debtor(s) are directed to forward the refund to the Trustee.

                                                              Special Plan Provisions
                                                                          None.

                                                                   Plan Provisions
                                                        I. Vesting of Estate Property
   Upon confirmation of the plan, all property of the estate shall vest in the Debtor(s), and shall not remain as property of the estate
   subject to the automatic stay of 11 U.S.C. §362.


                                    II. Executory Contracts/Unexpired Leases/Contracts for Deed
   Pursuant to 11 U.S.C. § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) hereby elects to assume the following executory
   contracts, if any:


 Creditor Name                          Description of Contract                                                 Election           In Default
 (None)


   Pursuant to 11 U.S.C. § 1322(b)(7) of the Bankruptcy Code, the Debtor(s) hereby elects to reject the following executory
   contracts, if any:


 Creditor Name                          Description of Contract                                                 Election           In Default
 (None)




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                                                                  Continuation Sheet # 1


                                            III. Specific Treatment for Payment of Allowed Claims
1. DIRECT PAYMENTS BY DEBTOR TO CREDITORS; SURRENDER OF COLLATERAL
        A. Debtor shall pay the following creditors directly:
 Creditor Name                                         Remarks                                                   Debt Amount           Monthly Payment

        B. Debtor shall surrender the following collateral:
 Creditor Name /                                                           In Full Satisfaction (Yes/No)                                   Debt Amount
 Collateral Surrendered

 City of Horseshoe Bay                                                     Yes                                                                    $1,200.00
 Lot at 209 Outcrop in Horseshoe Bay, TX
 Horseshoe Bay Maintenance Fund                                            Yes                                                                   $11,023.00
 Lot at 209 Outcrop in Horseshoe Bay, TX
 Llano County Tax Assessor Collector                                       Yes                                                                    $1,000.00
 Lot at 209 Outcrop in Horseshoe Bay, TX
 Westgate Resorts                                                          Yes                                                                    $9,563.68
 Westgate Resorts Timeshare at 2201 Roark Valley Rd
 Zealandia Capital, Inc.                                                   Yes                                                                    $4,071.36
 Timeshare at Festivas Orlando Resort Ownesr

        C. Creditor's Direct Communication With Debtors
        Creditors whose claims are scheduled to be paid directly by the debtor(s), including creditors with claims secured by real property
        or vehicles, are authorized to send monthly statements to the debtor(s). They are also authorized to communicate directly with
        the debtor(s) in response to a debtor's questions about monthly payments, escrow accounts, account balances, increases in
        monthly payments, and other routine customer service inquiries.

2. PAYMENTS BY TRUSTEE

        A. Administrative Expenses (including Attorney's fees)
        The Trustee may receive up to 10% of all sums received.
 Creditor                                                               Estimated Amount of Debt                      Monthly Payment Amount

 The Law Offices of Douglas J. Powell, P.                                                      $2,410.00              Month(s) 1-6     $350.00
                                                                                                                      Month(s) 7-7     $310.00




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                                                                  Continuation Sheet # 2


        B. Ongoing Mortgage Payments
        The Trustee shall pay all post-petition monthly mortgage payments on claims against real property that were delinquent on
        the petition date ("Ongoing Mortgage Payments"). The Ongoing Mortgage Payments will be in the amount stated in the
        allowed proof of claim or as fixed by Court order. If the debtor makes a Plan payment that is insufficient for the Trustee to
        disburse all Ongoing Mortgage Payments required below, such payments will be disbursed in the order listed below. The
        Trustee shall hold debtor payments until a sufficient amount is received to make a full Ongoing Mortgage Payment. The
        debtor shall provide to the Trustee all notices received from Mortgage Creditors including statements, payment coupons,
        impound and escrow notices, default notifications, and notices concerning changes of the interest rate on variable interest
        rate loans. The automatic stay is modified to permit Mortgage Creditors to issue such notices. Changes to the monthly
        Ongoing Mortgage Payment or the addition of post-petition mortgage fees and charges shall be effectuated pursuant to the
        Standing Order Relating to Ongoing Mortgage Payments in Chapter 13 Cases in the Austin Division.

                                                                                                        Interest                           Paid by
                                                             Monthly Mortgage                           Rate                 Payment       Trustee OR
 Mortgage Creditor /                                         Payment (proof of        Monthly           (for                 Due Date      Paid Direct
 Property Address                                            claim controls)          Late Charge       information          (per          by Debtor
                                                                                                        only)                contract)     (select one)


        C. Secured Claims - Real Property; Mortgage Arrearage
        The plan will cure pre-petition arrearage claims pursuant to the payment schedule set forth in the plan. The amount of the
        mortgage arrearage claim to be paid through the plan will be the amount of the mortgage creditors' allowed proof of claim, unless a
        different amount is established by court order. The amount set forth in the proposed plan and any subsequent order confirming
        the plan is an estimate only and is not binding on the Debtor(s) or the mortgage creditor and is not an admission on the part of
        the Debtor(s) nor does it prohibit the Debtor(s) from filing an objection to the mortgage creditor's claim. Unless funds are
        available to pay all classes on a monthly basis, secured claims will be paid ahead of unsecured claims.
                                                                                      Mo. Pmt or         Interest
 Creditor /                                                         Estimated         Method of          Rate (if
 Property Address / Description of Collateral                       Claim             Disbursement       applicable)       Other Remarks

 Silverleaf Resorts, Inc.                                                 $2,550.58          Pro-Rata                 0%
 Silverleaf Timeshare @ 2380 MO-76 Branson, MO 6561
 Bastrop County Tax Office                                                $4,787.66           $735.00             12%
 Residential Lot On Comanche Drive in Circle D
 CIT Bank, N.A.                                                          $58,520.34          Pro-Rata          9.875% Pay claim in full
 7613 Gaines Mill LN Austin, TX 78745
 CIT Bank, N.A.                                                           $3,423.53          Pro-Rata                 0%
 Homestead
 Internal Revenue Service                                               $114,231.81          Pro-Rata                 4%
 All property owned
 Travis County Tax Office                                                $12,114.88           $735.00             12%
 1502 Rockdale Circle, Austin, TX




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                                                                  Continuation Sheet # 3


        D. Secured Claims - Personal Property; Adequate Protection Payments; MOTIONS TO VALUE COLLATERAL
        The Trustee shall pay allowed secured claims, which require the filing of a proof of claim, to the extent of the value of the
        collateral or the full amount of the claim, as specified below, plus interest thereon at the rate specified in this Plan.
        FAILURE OF THE SECURED CREDITOR TO OBJECT TO THE PROPOSED VALUE WILL BE DEEMED ACCEPTANCE
        OF THE PLAN UNDER SECTION 1325(a)(5)(A). Except for secured claims for which provision is made to pay the full
        amount of the claim notwithstanding the value of the collateral, the portion of any allowed claim that exceeds the value of
        the collateral shall be treated as an unsecured claim under Section III(2)(E).

        In the first disbursement following the filing of a claim by a creditor holding an allowed claim secured by personal
        property, the Trustee shall commence making adequate protection payments in the amount set out below, unless
        otherwise ordered by the Court. Such payments shall cease upon confirmation of the plan.

        Unless funds are available to pay all classes on a monthly basis, secured claims will be paid ahead of unsecured claims.

 Creditor/Collateral                                               Adequate Protection Payment          Other Treatment/Remarks
 Capital One Auto Finance                                                                    $250.00
 2012 Volkswagon Passat

        The Debtor moves to value collateral described below in the amounts indicated. The Debtor(s) declares, under penalty of perjury,
        that the foregoing values as stated in the above Motion and the Plan for the secured debt are true and correct and to the best of
        their knowledge represent the replacement value, pursuant to Section 506(a)(2), of the assets held for collateral.

        /s/ Michael Anthony Guzik
        Michael Anthony Guzik, Debtor

        Objections to Valuation of collateral proposed by this plan must be filed no later than fourteen (14) days prior to the confirmation
        hearing date. If no timely objection is filed, the relief requested may be granted in conjunction with confirmation of the plan.
        Following confirmation of the plan, monthly payments shall be made as follows:

                                                                                                                             Pay Value of Collateral
 Creditor /                                                                  Value of         Monthly             Interest   (OR) Pay Full Amount
 Collateral                                                 Est. Claim       Collateral       Payment             Rate       of Claim
                                                                                                                             (select one)

 Capital One Auto Finance                                        $5,180.58       $9,500.00              $735.00        4.5% Pay Full Amount of Claim
 2012 Volkswagon Passat

        Secured creditors shall retain their liens on the collateral which is security for their claims until the earlier of the payment of the
        underlying debt determined under non-bankruptcy law, or discharge under 11 U.S.C. Section 1328. In addition, if this case is
        dismissed or converted without completion of the plan, such liens shall also be retained by the creditors to the extent recognized
        by applicable non-bankruptcy law.

        E. Priority Creditors
                                                                             Payment Method
                                                                              1. Before
                                                                              2. After
                                                  Estimated Amount            3. Along With             Monthly Payment or
 Creditor                                         of Debt                    Secured Creditors          Method of Disbursement




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                                                                  Continuation Sheet # 4


          F. General Unsecured Creditors, [including claims from rejection of contracts, leases and contracts for deed]. The Trustee will
          pay allowed general, unsecured claims unless otherwise ordered by the Court. Unless otherwise provided below, payments to
          creditors with allowed general unsecured claims shall be made on a pro rata basis as funds become available after payment of
          other creditors. It is estimated that distribution to the general unsecured creditors will commence in the    54th
          month of the Plan.

          G. Cure claims on Assumed Executory Contracts, Contracts for Deed & Leases:
                                                                            Payment Method
                                                                             1. Before
                                                                             2. After
                                                  Estimated Amount           3. Along With         Monthly Payment or
 Creditor                                         of Debt                   Secured Creditors      Method of Disbursement


Totals:

Administrative Claims                 $2,410.00
Arrearage Claims                    $195,628.80
Secured Claims                        $5,180.58
Priority Claims                           $0.00
Unsecured Claims                     $21,509.23
Cure Claims                               $0.00


          H. Lien Avoidance under 11 U.S.C. § 522(f)
          MOTION TO AVOID LIENS UNDER 11 U.S.C. § 522(f)
          Debtor moves to avoid the following liens that impair exemptions. Objections to Lien Avoidance as proposed in this plan must
          be filed no later than fourteen (14) days prior to the confirmation hearing date. If no timely objection is filed, the relief
          requested may be granted in conjunction with confirmation of the plan. (Debtor must list the specific exempt property said lien
          impairs and the basis of the lien, i.e. judicial, nonpurchase-money security interest, etc.)

 Creditor /                                                                                 Amount of Lien
 Property subject to lien                                                                   to be Avoided       Remarks




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                                                                  Continuation Sheet # 5



                                                              IV. General Information

   Notice:       Local Rule 3002 provides, in part:
   "Every Creditor filing a Proof of Claim in all cases shall transmit a copy with attachments, if any, to the Debtor's Attorney (or
   the Debtor if the Debtor is pro se)."


Limiting Notice After Deadline to File a Proof of Claim:
          For pleadings requiring notice on all creditors and filed after the deadline to file a proof of claim, parties in interest need only
          serve the Limited Notice List and the Limited Notice List shall include the following:
          a. the United States Trustee for the Western District of Texas, Austin Division;
          b. the Chapter 13 Trustee for the Western District of Texas, Austin Division;
          c. the Debtor(s) unsecured creditors or their respective counsel, provided however that they filed a claim or notice of
          appearance;
          d. all secured creditors in this case or their counsel;
          e. all taxing authorities holding claims against the Debtor(s);
          f. all parties who have, by notice of entry of appearance advised the Court and counsel for the Debtor(s) that they desire to
          receive notices herein;
          g. government agencies required to receive notice under the Bankruptcy Rules and above-named.

Any special concerns of a creditor may justify attendance at the Meeting of Creditors and such other action as may be appropriate
under the circumstances. The deadline for the filing of objections to confirmation is fourteen (14) days prior to the confirmation
hearing.


Respectfully submitted this date: ______________________________.
                                    8/8/2017


  /s/ Michael Anthony Guzik
 Michael Anthony Guzik
 7316 Gaines Mill Lane
 Austin, TX 78745
 (Debtor)




  /s/ Douglas J. Powell
 Douglas J. Powell
 820 West 10th Street
 Austin, TX 78701
 Phone: (512) 476-2457 / Fax: (512) 477-4503
 (Attorney for Debtor)




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                Debtor(s)                                        CHAPTER   13

                               EXHIBIT "B" - VARIABLE PLAN PAYMENTS

               PROPOSED PLAN OF REPAYMENT (VARIABLE PAYMENTS INTO THE PLAN)

 Month             Payment               Month       Payment                    Month   Payment
  1                $2,850.00              21         $4,850.00                  41      $4,850.00
  2                $4,850.00              22         $4,850.00                  42      $4,850.00
  3                $4,850.00              23         $4,850.00                  43      $4,850.00
  4                $4,850.00              24         $4,850.00                  44      $4,850.00
  5                $4,850.00              25         $4,850.00                  45      $4,850.00
  6                $4,850.00              26         $4,850.00                  46      $4,850.00
  7                $4,850.00              27         $4,850.00                  47      $4,850.00
  8                $4,850.00              28         $4,850.00                  48      $4,850.00
  9                $4,850.00              29         $4,850.00                  49      $4,850.00
  10               $4,850.00              30         $4,850.00                  50      $4,850.00
  11               $4,850.00              31         $4,850.00                  51      $4,850.00
  12               $4,850.00              32         $4,850.00                  52      $4,850.00
  13               $4,850.00              33         $4,850.00                  53      $4,850.00
  14               $4,850.00              34         $4,850.00                  54      $4,850.00
  15               $4,850.00              35         $4,850.00                  55      $4,850.00
  16               $4,850.00              36         $4,850.00                  56      $4,850.00
  17               $4,850.00              37         $4,850.00                  57      $4,850.00
  18               $4,850.00              38         $4,850.00                  58      $4,850.00
  19               $4,850.00              39         $4,850.00                  59      $4,850.00
  20               $4,850.00              40         $4,850.00                  60
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                                      Debtor


                                                                                 CHAPTER         13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


    I, the undersigned, hereby certify that on August 8, 2017, a copy of the attached Chapter 13 Plan, with any
attachments, was served on each party in interest listed below, by placing each copy in an envelope properly addressed,
postage fully prepaid in compliance with Local Rule 9013 (g).



                                /s/ Douglas J. Powell
                                Douglas J. Powell
                                Bar ID:16194900
                                The Law Offices of Douglas J. Powell, P.C.
                                820 West 10th Street
                                Austin, TX 78701
                                (512) 476-2457




ACSO of Texas, LP                                Deborah B. Langehennig                         Zoca Loans/Rosebud Lending LZO
a/k/a Advance America                            6201 Guadalupe Street                          P. O. Box 1147
135 North Church Street                          Austin, TX 78752                               27565 Research Park Drive
Spartanburg, SC 29306                                                                           Mission, SD 57555



Blue Horizon Loan/ Multisource. Net              Internal Revenue Service
Clear Lake Holding                               Centralized Insolvency Operations
621 Medicine Way suite 3                         PO Box 7346
Ukiah, CA 95482                                  Philadelphia, PA 19101-7346



Cash Store                                       Michael Anthony Guzik
Corporate Collections Dept.                      7316 Gaines Mill Lane
1901 Gateway Dr., Suite 200                      Austin, TX 78745
Irving, TX 75038



CIT Bank, N.A.                                   Rushmore Financial Services
P.O. Box 9013                                    P.O. Box 283
Addison, Texas 75001                             Flandreau, SD 57028
